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                                         JONATHAN LUBIN

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The Honorable Paul A. Engelmayer
United States District Judge
United States District Court - Southern District of New York
Thurgood Marshall Courthouse
40 Centre Street
New York, NY 10007

Dear Judge Engelmayer:

I am writing to you regarding my long-time friend, Ari Teman. I don’t remember exactly when I met
Ari, but I attended Brandeis from 2001 to when I graduated in 2004. Ari was a good friend of mine,
and we spent a good deal of time together when I attended Brandeis. He was one of the first people
to reach out to me when my father died in 2003, and he was by my side for hours upon hours when
I sat shiva for my father, on campus, for the seven days after his funeral.

When I became a solo practitioner with a law office in Chicago, Illinois, Ari helped me build my first
website. I still get my hosting through the very same registrar that Ari helped me with over a decade
ago.

I want to tell you a story about Ari that I think will do more to illustrate the kind of person I know
him to be than for me offer a list of adjectives. One evening, Ari came to my dorm room and
informed me (as in, it was not a request) that I was going to be helping him build a sink with 4
separate inserts for the Chabad House. A Chabad House is a Jewish institution, typically run by a
Rabbi affiliated with the Chabad Chassidic movement, that does in-reach into the Jewish
community. It typically is supported entirely through donations. The Chabad House at Brandeis
University was no exception to this rule.

On Friday night, the Chabad House hosts a large Shabbat meal. When I was there, it would host
anywhere between 50 and 80 people on a Friday night. The meal begins when everybody washes
their hands and the Rabbi presiding over the meal makes the HaMotzi blessing over bread. That
means that everybody has to wash their hands. Typically, there is no talking between when one
washes their hands and when one hears the HaMotzi blessing. That’s a lot of silence for young and
excitable college students!! The double sink at the Chabad House was, in Ari’s eyes, not up to this
task. It would typically take a long time for everyone to go through the ritual. So Ari decided that we
were going to be making a sink with 4 separate inserts (functionally 4 sinks) for the Chabad House.

This sink could potentially be described as rudimentary, but the thing is that I didn’t (and still don’t)
know how to make a sink. Ari did most of the work. My job mostly consisted of helping him carry
things around, holding tools, and otherwise being a cheerleader. Ari needed no cheerleaders. The
whole project was his idea, and within a couple of days, it went from planning to complete
execution.

We arrived at the Chabad House to install the sink (if I recall correctly) a day after we set out to
build it after several trips to the hardware store. To call the Rabbi overwhelmed (in a good way, but
definitely overwhelmed) is an understatement. We arrived in the evening, and – typical for Ari – he
presented the matter as a fait accompli. There was nothing that the Chabad rabbi could say, one way

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or the other, that would dissuade Ari from installing the sink right then and there, hooking it up to a
hose, and creating a drainage system for it, that very minute.

It remained there for as long as I was on campus. It fast-tracked the washing ritual in a major way,
allowing more people to be accommodated faster. In the subsequent retelling of the story, Ari
always refers to it as the time when he and I built a sink – despite the fact that I was basically just
along for the ride.

This is the Ari Teman that I know. He’s an entrepreneur, always trying new things, and he’s typically
very good at them. He’s hands-on. He likes bringing joy and happiness to others (as evidenced by
his side-gig as a comedian – his comedy is exceptionally funny). He gives credit to everyone around
him before himself.

Another story about Ari Teman that comes to mind is the last time he visited Chicago. We asked
him to come to our house for a Shabbat meal. He came on Friday night. We reminisced about
Brandeis, about the crazy sink, and about life. At that time, Ari was not Orthodox Jewish. I have no
idea what his observance level is today, nor do I care. It is not my business. I only mention it
because when it was time to call it a night, Ari excused himself to use the bathroom and called a cab.
I only realized what he’d done afterwards because the cab showed up several minutes after he
excused himself to use the bathroom. It would not have made me uncomfortable in the least for Ari
to have called the cab right there in my dining room. But Ari is always considerate of others. He did
not want to openly violate the Sabbath in front of me or my family. This is a small gesture – and an
unnecessary one, at that – of his respect for me.

This, too, is Ari Teman. He is considerate, even when it is not necessary. He always thinks of others.
The idea of making me feel even slightly uncomfortable was an anathema to him.

I’ll offer one more story about Ari: one of my favorite days of the year is Purim, the holiday that
celebrates the victory of the Jewish people over the Persian King Ahasuerus. Brandeis’s Orthodox
Organization (lovingly called BOO) always puts on a joyous Purim program. One Purim, Ari stood
up and offered an impromptu stand-up routine in which he said something funny about nearly
everyone in the room. I consider myself pretty outgoing, but I wouldn’t have been able to conjure
something to say – that was personalized – to everyone in that room. Even as a young college
student, he elevated empathy to an art form. He later wrote a book/pamphlet entitled Effective
Gratitude: For Organizations and Individuals, in which he discussed some of his ideas about empathy and
gratitude in an organized and systematic way. But it was something he’d been practicing for years by
then.

I am sure that Your Honor is receiving a plethora of letters from people whose lives have been
enriched by Ari. Most likely, some have come from people impacted by the worldwide community
service organization that he established. I knew him before any of that, but I was not at all shocked
to find out that, after college, he’d done amazing things and helped countless people.

                                                Very Truly Yours,

                                                s/Jonathan Lubin
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